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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION


PATRICK PURSLEY,                                 )
                                                 )
                      Plaintiff,                 )    Case No: 18 CV 50040
                                                 )
      vs.                                        )    Judge Philip G. Reinhard
                                                 )
CITY OF ROCKFORD, et al.                         )    Magistrate Iain D. Johnston
                                                 )
                      Defendants.                )


   CITY DEFENDANTS’ RESPONSE TO PLAINITFF’S MOTION TO APPOINT AND
    SUBSTITUTE SPECIAL REPRESENTATIVES FOR DEFENDANTS HOWARD
            FORRESTER, GARY REFFETT, AND DAVID EKEDAHL


      Defendants, City of Rockford, Illinois; James Barton, Ron Gallardo, John Genens,

Charlene Getty, Jeff Houde; Sam Pobjecky, and Mark Schmidt, (City Defendants) by their

undersigned counsel, and for their response to Plaintiff’s Motion to Appoint and

Substitute Special Representative for Defendants Howard Forrester, Gary Reffett, And

David Ekedahl, [Dkt #57] state as follows:



      1.     City Defendants do not object to Plaintiff’s motion [Dkt #57].



Date: April 9, 2019                                   Respectfully submitted




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  Defendant James Barton                       Defendants City of Rockford
                                               and Charlene Getty
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                                               By: City Of Rockford Department
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  Defendants Ron Gallardo,
  John Genens, Jeff Houde,
  Sam Pobjecky, Mark
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